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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                  MARTINSBURG


  ROBERT FRY,

               Petitioner-Defendant,

  v.                                                    Civil Action No. 3:13-cv-19
                                                        Criminal Action No. 3:09-cr-78
                                                        (Bailey)
  UNITED STATES OF AMERICA,

               Respondent-Plaintiff.


                                          ORDER


  I.    Introduction

        On this day, the above-styled matter came before the Court for consideration of the

  Report and Recommendation (“R&R”) of United States Magistrate Judge John S. Kaull

  [Civ. Doc. 5; Crim. Doc. 111], filed July 7, 2014, and the Addendum to Memorandum

  Opinion and Report and Recommendation [Civ. Doc. 7; Crim. Doc. 114], filed August 4,

  2014. The magistrate judge’s Addendum recommends that this Court Grant petitioner

  Robert Fry’s 28 U.S.C. § 2255 Motion to Vacate, Set Aside, or Correct Sentence [Civ. Doc.

  1; Crim. Doc. 83], filed February 22, 2013, insofar only as it seeks resentencing. The

  magistrate judge recommends denying the petitioner’s remaining claims. This Court

  agrees.

        Pursuant to 28 U.S.C. § 636 (b)(1)(c), this Court is required to make a de novo

  review of those portions of the magistrate judge’s findings to which objection is made.


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  However, the Court is not required to review, under a de novo or any other standard, the

  factual or legal conclusions of the magistrate judge as to those portions of the findings or

  recommendation to which no objections are addressed. Thomas v. Arn, 474 U.S. 140,

  150 (1985). In addition, failure to file timely objections constitutes a waiver of de novo

  review and the right to appeal this Court’s Order. 28 U.S.C. § 636(b)(1); Snyder v.

  Ridenour, 889 F.2d 1363, 1366 (4th Cir. 1989); United States v. Schronce, 727 F.2d 91,

  94 (4th Cir. 1984). Here, objections to Magistrate Judge Kaull’s R&R were due within 14

  days of service, pursuant to 28 U.S.C. § 636(b)(1). The petitioner accepted service of the

  original R&R on July 10, 2014 and timely filed objections on July 17, 2014 [Crim. Doc. 113].

  Questions raised by the petitioner’s objections led to Magistrate Judge Kaull’s Addendum,

  filed August 4, 2014 [Civ. Doc. 7; Crim. Doc. 114]. Objections to Magistrate Judge Kaull’s

  Addendum were again due within 14 days of service, and the Government timely objected

  on August 14, 2014 [Crim. Doc. 116]. Accordingly, this Court will undertake a de novo

  review of those portions of the magistrate judge’s findings to which objection is made. The

  Court will review the remainder of the R&R for clear error.

  II.    Background

         On May 24, 2010, Mr. Fry pleaded guilty, pursuant to a plea agreement, to a single

  count of distribution of cocaine base, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(C)

  and 18 U.S.C. § 2. On January 25, 2011, this Court sentenced Mr. Fry to 151 months of

  imprisonment, at the low end of the petitioner’s guidelines sentencing range based on the

  petitioner’s status as a career offender within the meaning of U.S.S.G. § 4B1.1.

         Mr. Fry filed a direct appeal with the Fourth Circuit Court of Appeals in 2011. The


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  Fourth Circuit dismissed the petitioner’s appeal as barred by the appellate waiver in his

  written plea agreement. The petitioner then filed a writ of certiorari with the Supreme Court

  of the United States, which was denied on February 21, 2012.

         On February 22, 2013, Mr. Fry filed the instant motion pursuant to 28 U.S.C. § 2255.

  His petition alleges that the Court committed error by abusing its discretion and using his

  Maryland conviction as a predicate conviction to enhance his sentence. He also claims that

  there was disparity in the sentence he received compared with his co-defendant Kenny

  Riley’s sentence. The petitioner’s final claim is for ineffective assistance of counsel [Civ.

  Doc. 1; Crim. Doc. 83].

         The magistrate judge recommended denial of the petitioner’s motion on the grounds

  that the petitioner’s first two claims were barred by his appellate and collateral waiver. The

  R&R recommends dismissal of his ineffective assistance of counsel claim as without merit.

         After the petitioner filed his petition, but prior to filing his objections, the Fourth

  Circuit held that a defendant’s prior conviction under Maryland law for first-degree burglary

  does not qualify as a conviction for a crime of violence, a predicate offense for a

  determination that a defendant is a career offender. United States v. Henriquez, 2014 WL

  2900935 (4th Cir. June 27, 2014). The petitioner’s objections allege that one of the two

  prior felony convictions used to designate him as a career offender was a conviction under

  Maryland law for first-degree burglary [Crim. Doc. 113]. Therefore, he argues that he is

  entitled to be resentenced without a career offender designation.

         Magistrate Judge Kaull filed an Addendum to Memorandum Opinion and Report and

  Recommendation [Civ. Doc. 7; Crim. Doc. 114], stating that in light of the Henriquez case,

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  the petitioner’s motion should be granted insofar only as it seeks resentencing. The

  Government objected on the ground that the petitioner’s claim that he is not a career

  offender “is barred by the habeas corpus waiver which the magistrate judge has already

  correctly found was knowing and intelligent.” [Crim. Doc. 116 at 3].

  III.     Discussion

           The petitioner’s § 2255 petition put forth three claims: 1) the Court abused its

  discretion in using his conviction for first-degree burglary in Maryland as a predicate

  offense; 2) the petitioner did not receive due process due to the disparity in the sentence

  the petitioner received compared to the sentence his co-defendant received; and 3)

  petitioner’s attorney provided ineffective assistance of counsel. The Court agrees with the

  magistrate judge and finds that the petitioner is not entitled to relief with respect to his

  second or third claims but that the petitioner is entitled to relief with respect to his first

  claim.

           A.    Claims 2 and 3: Sentencing Disparity and Ineffective Assistance of

                 Counsel Claims

           The magistrate judge’s R&R recommends dismissal of the petitioner’s motion with

  respect to the disparity between the petitioner’s sentence and his co-defendant, Kenny

  Riley’s, sentence on the ground that the petitioner knowingly and intelligently waived his

  appellate and collateral attack rights in his plea agreement. An appellate or collateral

  waiver will be enforced except under very narrow circumstances, such as if enforcement

  would result in a miscarriage of justice. The magistrate judge determined that the petitioner

  knowingly and intelligently waived his appellate collateral attack rights and that the

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  petitioner’s claim of disparity between his sentence and his co-defendant’s sentence was

  not grounds for invalidating the petitioner’s waiver. The petitioner did not file objections

  with respect to this claim.

         The R&R also recommends denial of the petitioner’s claim for ineffective assistance

  of counsel as being without merit. The petitioner did not file any objections with respect to

  this claim.

         Upon careful review of the report and recommendation, it is the opinion of this Court

  that the magistrate judge’s Report and Recommendation should be adopted with respect

  to claims two and three related to sentencing disparity and ineffective assistance of counsel

  for the reasons more fully stated in the magistrate judge’s report.

         B.     Claim 1: Career Offender Designation

         The magistrate judge originally recommended denial of the petitioner’s first claim,

  that the Court committed error by abusing its discretion and designating the petitioner as

  a career offender. The magistrate judge’s Addendum recommended relief for the petitioner

  in light of a recent Fourth Circuit decision. This Court concurs. The petitioner was

  originally sentenced using a predicate offense recently deemed inapplicable, and which

  gave him career offender status. In light of the Fourth Circuit’s recent ruling, the petitioner

  should be resentenced.

         The petitioner pleaded guilty pursuant to a plea agreement. The petitioner’s plea

  agreement included a stipulated amount of drug relevant conduct of 0.95 grams of cocaine

  base. Pursuant to the United States Sentencing Guidelines in effect on the date that the

  petitioner was sentenced, U.S.S.G. § 2D1.1(c)(13) provided for a base offense level of 14

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  for offenses involving at least 500 miligrams, but less than 1 gram of cocaine base. Based

  on the Fair Sentencing Act of 2010, 0.95 grams of cocaine base, results in a base offense

  level of 12.

         The petitioner’s offense level was adjusted to 32 based on his designation as a

  career offender under 4B1.1(b)(c).1 Under Guideline § 4B1.1, a defendant is a career

  offender if he is an adult at the time of the instant offense, the instant offense is a crime of

  violence or controlled substance offense, and the defendant has at least two prior “felony

  convictions” for crimes of violence or controlled substance offenses. U.S.S.G. § 4B1.1(a).

  In the present case, although the petitioner has an extremely lengthy criminal history, the

  petitioner was determined to have only two predicate felony convictions. The first was a

  conviction was for a controlled substance offense as defined in § 4B1.2(b), and the other

  for first-degree burglary. The first-degree burglary conviction occurred in 2002, where the

  petitioner was found guilty in the Circuit Court for Anne Arundel County, Annapolis,

  Maryland.

                 1.     United States v. Henriquez

         While the petitioner’s instant § 2255 motion was still pending, the Fourth Circuit

  decided United States v. Henriquez, 2014 WL 2900935 (4th Cir. June 27, 2014). The

  Fourth Circuit held in Henriquez that although generic burglary has been deemed a crime

  of violence sufficient to support an enhancement under the sentencing guidelines, first-

  degree burglary in Maryland does not. The Court reasoned that Maryland courts have

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          The petitioner then received a three-level reduction for acceptance of responsibility,
  resulting in a total offense level of 29 and a sentencing guidelines range of 151 to 188
  months.

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  construed Maryland’s first degree burglary statute more broadly than the Supreme Court’s

  definition of generic burglary. Accordingly, the Fourth Circuit vacated the defendant’s

  sentence, which the district court enhanced based on the defendant’s prior conviction of

  first-degree burglary in Maryland, and remanded for resentencing.

         Petitions under § 2255 are applicable to non-constitutional errors which involve “a

  fundamental defect which inherently results in a complete miscarriage of justice.”

  Whiteside v. United States, 748 F.3d 541, 548 (4th Cir. 2014), reh’g granted, 2014 WL

  3377981 (4th Cir. July 10, 2014). The Fourth Circuit held in Whiteside “that an erroneous

  application of the career offender enhancement amounts to a fundamental miscarriage of

  justice that is cognizable on collateral review.” Id. at 551. The Court reasoned that

  although ordinary misapplication of the guidelines does not amount to a miscarriage of

  justice, “[b]y no rubric can the impact of the career offender enhancement be considered

  ‘ordinary.’” Id. This is due to the particularly severe punishment for career offenders. Id.

         In this case, absent the enhancement, the petitioner would have had a total offense

  level of 10. With his criminal history category of VI, he would have faced a guideline

  sentencing range of 24 to 30 months. After the career offender enhancement, the

  petitioner’s guideline sentence range jumped to 151 to 188 months. Even though the

  petitioner was sentenced by this Court to the low end of the guideline range, 151 months,

  that sentence was 121 to 127 months more than the guidelines would have provided for

  without the career offender designation.

         This Court agrees that the Fourth Circuit’s reasoning in Henriquez should apply to

  the petitioner’s case. A conviction of first-degree burglary in Maryland cannot constitute


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  a crime of violence for purposes of determining whether a defendant is a career offender.

  It is now apparent that Mr. Fry was erroneously determined to be a career offender. The

  erroneous application of the career offender enhancement in the petitioner’s case amounts

  to a fundamental miscarriage of justice. As such, his claim is cognizable on collateral

  review and the petitioner will be resentenced.

                2.     Plea Waiver

         The Government does not dispute that the petitioner’s first-degree burglary was a

  necessary predicate to his designation as a career offender, directly resulting in a 20-level

  increase in his base offense level. However, the Government argues that Henriquez is

  inapplicable to the petitioner’s case because the petitioner executed a valid habeas corpus

  waiver as part of his plea agreement. Although the petitioner has an enforceable waiver,

  the Court will refuse to enforce the waiver on the ground that doing so would result in a

  miscarriage of justice.

         “A defendant may waive his right to appeal if that waiver is the result of a knowing

  and intelligent decision to forgo the right to appeal.” United States v. Amaya–Portillo,

  423 F.3d 427, 430 (4th Cir. 2005) (internal quotation marks omitted). The magistrate judge

  found that the petitioner executed a knowing and intelligent waiver. Accordingly, collateral

  attacks under 28 U.S.C. § 2255 are limited to claims of constitutional magnitude or to errors

  which inherently result in a complete miscarriage of justice. See United States v.

  Addonizio, 442 U.S. 178, 185, (1979). The Fourth Circuit has stated that “appellate courts

  may “refuse to enforce an otherwise valid waiver if to do so would result in a miscarriage

  of justice.“ United States v. Johnson, 410 F.3d 137, 151 (4th Cir. 2005) (quoting United

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  States v. Andis, 333 F.3d 886, 891 (8th Cir. 2003)).

         In the instant case, the Court will refuse to enforce the otherwise-valid waiver. The

  Fourth Circuit’s holding in Henriquez states that a misapplication of a career offender

  designation is an error that would inherently result in a “miscarriage of justice.” As such,

  this Court finds that applying the appeallate waiver in the instant case would result in a

  miscarriage of justice. In sum, the petitioner’s claim was not waived pursuant to his plea

  agreement.

  IV.    Conclusion

         Upon careful review of the record, it is the opinion of this Court that the magistrate

  judge’s Report and Recommendation [Civ. Doc. 5; Crim. Doc. 111] should be, and is,

  hereby ORDERED ADOPTED IN PART AND DECLINED TO ADOPT IN PART. The

  magistrate judge’s Addendum to Memorandum Opinion and Report and Recommendation

  [Civ. Doc. 7; Crim. Doc. 114] is hereby ADOPTED for the reasons more fully stated

  therein. Accordingly, the petitioner’s Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside,

  or Correct Sentence by a Person in Federal Custody [Civ. Doc. 1; Crim. Doc. 83] is

  hereby GRANTED INSOFAR ONLY AS IT SEEKS RESENTENCING. The petitioner’s

  sentenced is therefore VACATED.

         Additionally, the Government’s Motion to Dismiss or, in the Alternative, for Summary

  Judgment and Response to Order to Show Cause is GRANTED IN PART AND DENIED

  IN PART. The petitioner’s Objections to the R&R [Crim. Doc. 113] are SUSTAINED while

  the Government’s Objections to the Addendum to the R&R [Crim. Doc. 116] are

  OVERRULED.

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         In view of the foregoing, the petitioner’s sentence shall be corrected, and he shall

   be RESENTENCED TO TIME-SERVED. The United States Probation Office is ORDERED

   to prepare an Amended Judgment and Commitment Order consistent with this Order.

         It is so ORDERED.

         The Clerk is directed to transmit a copy of this Order to counsel of record, to the

   USPO, USMS, and to mail a copy to the pro se petitioner.

         DATED: August 29, 2014.




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